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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH DAKOTA
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,
             Plaintiff                             4:22-cr-40033


             vs.



SKY THOMAS ROUBIDEAUX,                              MEMORANDUM
       Defendant                                     AND ORDER




      Pending before the Court is Defendant's Motion to exclude evidence the

Government seeks to introduce pursuant to F.R.E. 404(b).(Doc. 30, 39). The

Government argues the evidence is admissible under the Rule.(Doc. 36-2). For the

reasons that follow, the Court grants the Defendant's motion.

    I. Background

       Roubideaux is charged with a violation of 18 U.S.C. § 2422(b), attempted

 enticement of a minor using the internet. Law enforcement conducted a sting

 operation at the March 2022 Summit League Basketball Tournament in Sioux

 Falls. Defendant responded to a message from an undercover officer purporting to

 be a 15-year-old boy living at home with his parents. Defendant was apprehended

 when he appeared at the arranged meeting place. He agreed to a polygraph exam
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and was told afterwards that he had been deceptive in his responses about having

sex with a child in the past.

       During his interview with an investigator following the polygraph, Defendant

stated that he had had consensual sex with two 16-year-old males previously. The

Government seeks to introduce evidence ofone ofthe encounters pursuant to F.R.E.

404(b) as other acts evidence.(Doc. 36-2). The defense has objected and supplied

additional facts for the Court's consideration,(Doc. 30, 39), and a brief(Doc. 42).

The additional evidence was gleaned from a transcript ofthe interview conducted in

conjunction with the polygraph of Defendant.(Doc. 39).


       The supplemental information about Defendant's prior act is that he was 20

 or 21 years old, met a group of gay men at a lake outside of Rapid City, and had a
 consensual sexual encounter with an individual in the group. The person was

 drinking a beer and Defendant assumed he was 21 years old. Later he found out

the individual was 16 years old. There was no indication of social media

 involvement such as texting or intemet. Apparently, this was the first time

 Roubideaux met or had contact with the individual. According to Defendant, the

 event occurred approximately two years prior to the allegations at bar.

       The Defense argues this evidence should be excluded under F.R.E. 404(b)

 because it is not relevant and will create substantial unfair prejudice, citing F.R.E.
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403. The Government responds that the evidence is proper under F.R.E. 404(b),

primarily to establish Defendant's intent, which is in issue. (Doc. 36-2).

   2. Legal Standard:

   F.R.E. 404(b) and 403 currently read as follows:

      Rule 404. Character Evidence; Other Crimes, Wrongs or Acts

       ...(b) Other Crimes, Wrongs,or Acts.
             (1)Prohibited Uses. Evidence of any other crime, wrong, or act is not
             admissible to prove a person's character in order to show that on a
             particular occasion the person acted in accordance with the character.
             (2)Permitted Uses. This evidence may be admissible for another
             purpose, such as proving motive, opportunity, intent, preparation,
             plan, knowledge, identity, absence of mistake, or lack of accident.

Fed. R. Evid. 404(b).

       Rule 403. Excluding Relevant Evidence for Prejudice, Confusion, Waste
                            of Time,or Other Reasons

       The court may exclude relevant evidence if its probative value is
       substantially outweighed by a danger of one or more ofthe following: unfair
       prejudice, confusing the issues, misleading the jury, undue delay, wasting
       time, or needlessly presenting cumulative evidence.

Fed. R. Evid. 403.


       Many cases in the Eighth Circuit set forth the requirements for admission of

 F.R.E. 404(b) evidence. Recently, the Eighth Circuit described the standard for

 admission of such evidence in United States v. Atkins,      F.4th   ,2022 WL

 16627069, *6(8th Cir. 11/2/22). The court stated that F.R.E. 404(b)evidence

"must be(1)'relevant to a material issue';(2)'similar in kind and not overly
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remote in time to the crime charged'; and(3)'supported by sufficient evidence."

Id.(quoting United States v. Contreras, 816 F.3d 502, 511 (8th Cir. 2016)). The

court added that "Rule 404(b) evidence is subject to Rule 403" and may be

excluded "if its probative value is substantially outweighed by a danger of...

unfair prejudice." Id. (quoting F.R.E. 403). See also United States v. Kindley,

F.4th     ,2022 WL 17245115,*2(8th Cir. 11/28/22)(discussing balancing test of

F.R.E. 403 in context of F.R.E. 404(b) evidence).

        Previously, the court had described the standard for F.R.E. 404(b) similarly,

but not identically, as follows:


        There are four elements governing admissibility under Rule 404(b): the
        evidence "must(1)be relevant to a material issue raised at trial,(2) be
        similar in kind and close in time to the crime charged,(3)be supported by
        sufficient evidence to support a finding by a jury that the defendant
        committed the other act, and(4)not have a prejudicial value that
        substantially outweighs its probative value." United States v. Johnson,439
        F.3d 947,952(8th Cir. 2006)(internal quotation marks omitted). See
        United States v. Nordwall, 998 F.3d 344, 347(8th Cir. 2021); United States
        V. Gutierrez-Ramirez, 930 F.3d 963,967(8th Cir. 2019); United States v.
        Johnson, 869 F.3d 1133, 1142(8th Cir. 2017).


        In Atkins, the defendant was charged with sex trafficking of a minor in

 violation of 18 U.S.C. § 1591(a). He had invited a 17-year-old runaway to live

 with him and then forced her into prostitution. The trial court had admitted cell

 phone videos and screenshots ofthe defendant's posts, some of which were posted
tolnstagram. 2022 WL 16627069, *6. In the videos, defendant used misogynistic
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and derogatory language.Id. The Eighth Cireuit affirmed, finding the trial court

did not abuse discretion in admitting the evidence. It showed defendant's plan to

recruit women for his profit, the language was connected to sex trafficking, and the

videos were recorded just six months before defendant reached out to the minor

victim to live with him and engage in sex with others. Id. The court found the

evidence was directly relevant. Id. In addition, the trial court had engaged in Rule

403 balancing and gave the jury a limiting instruction, meaning the evidence was

not admitted in violation of F.R.E. 403. Id.

       In Nordwall, the defendant was indicted on a charge of attempted sex

trafficking, 18U.S.C.§ 1591, one count of attempted enticement of a minor, 18

U.S.C. § 2422(b), and crossing state lines to engage in illicit sexual conduct. 18

U.S.C. § 2423(b). At issue was the admissibility under F.R.E. 404(b) of four

internet searches by the defendant of"prurient pictures and videos of minor girls."

Id. at 346. The Eighth Circuit found no abuse of discretion in admitting the

evidence. First the court agreed the searches were probative ofthe defendant's

intent when he crossed state lines, and they refuted his claim he was trying to

 blackmail the pimp and save the girls he planned to meet. Id. at 347. F.R.E.

 404(b)(2) speeifically authorizes admission of evidence to show intent and the

 internet searches were relevant to show the defendant's intent. Second, the

 evidence was similar in kind to the charged crime and had occurred two weeks
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prior. Id. at 348. Third, the defendant did not challenge that he conducted the

searches. Fourth, evidence ofthe searches was not unfairly prejudicial under

F.R.E. 403 because they showed the defendant's interest in sex with minor girls.

Id.


       Another recent case. United States v. Riepe, involves circumstances where

the other acts evidence demonstrates the defendant's malevolent intent. 858 F.3d

552, 561 (8th Cir. 2017). As in Roubideaux,Defendant Riepe was charged with a

violation of 18 U.S.C. § 2242(b), attempted enticement of a minor. Riepe had

pursued at least three teenaged girls (the current victim and two others)

aggressively, including at their high schools, to the point he was banned from the

schools. There was a substantial collection of internet messages with sexual

content from the defendant when he thought he was communicating with the

current victim. In fact, many ofthe texts at issue were from an undercover officer

posing as the victim.Id. at 555. The trial court admitted evidence ofthe

 defendant's pursuit ofthe two other girls, one of whom testified at trial about his

internet messages and appearance at her high school, and the other who testified

 about personal encounters at her workplace. Id. at 558. The Eighth Circuit found

 no abuse of discretion in admitting the evidence under F.R.E. 404(b), finding it fit

the requirements ofthe test set forth in United States v. Mora,81 F.3d 781 (8th

 Cir. 1996)and United States v. Aranda,963 F.2d 211 (8th Cir. 1992)(commenting
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that F.R.E. 404(b)is a rule of inclusion). The court noted that the trial court had

found the contacts with the two girls and the defendant's presence at various

locations had occurred just over a year before the current alleged offense and were

relevant to show his planning, knowledge and preparation. The trial court had

found further that the actions were similar in kind, not remote, and were supported

by sufficient evidence. Id. at 560. The court had also determined the other acts

evidence did not violate F.R.E. 403 and was not unfairly prejudicial, which the

Eighth Circuit affirmed as well. Id. at 561 (citing United States v. Pierson, 544

F.3d 933,941 (8th Cir. 2008)(trial court balanced probative value with unfair

prejudice pursuant to F.R.E. 403)).

    3. Analysis

       In the case at bar. Defendant is charged with a violation of 18 U.S.C. §

2422(b), as in Nordwall and Riepe. As a result, his intent is at issue. However,the

purported F.R.E. 404(b)evidence in Roubideaux's case differs from the offense for

 which he was indicted in significant ways and does not show his alleged intent to

have sex with an underage male. Most important, the prior act was consensual sex

 with a 16-year-old, a person old enough under South Dakota law to give consent.

 S.D. Codified Laws § 22-22-7(2010). There is no evidence of aggressive pursuit

 by Roubideaux. The act occurred approximately two years before the alleged act

for which he has been indicted. There was no evidence of intemet activity
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involved, as in the case at bar. The prior act occurred as a result of a chance social

encounter with another individual. Defendant states he is gay, so consensual sex

with another gay male would have little probative value on the issue of his intent in

this case, and perhaps would do little more than offend or inflame the jury.

       In other respects as well, the facts ofthe Defendant's case differ

substantially from the situations described in Atkins, Nordwall and Riepe. In

Riepe, the evidence ofthe other acts was supplied by two victims who described
numerous actions by the defendant that had occurred approximately one year

before the current pursuit of a minor. In this case, Roubideaux is the only person

who can account for what occurred during this encounter because apparently no

complaint to the police was made and there was no investigation ofthe incident.

In Riepe, the other acts (contacts by defendant) were unwanted while in this case,

the other act was consensual and involved a person able to consent under South

Dakota law. In Atkins, Nordwall and Riepe the internet activity involved with the

 prior acts was initiated by the defendant, while in this case, the other act did not
involve the internet and was consensual. If Roubideaux's description about the

 prior act is accepted as true, it differs substantially from the allegation he currently
 faces. Lack of similarity and remoteness lead to the conclusion the other act

 should not be admissible F.R.E. 404(b) evidence.
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       Likewise, when the balancing test of F.R.E. 403 is applied, it appears the

danger of unfair prejudice substantially outweighs the probative value ofthe

evidence. The potential for unfair prejudice is substantial if the jury hears an

account of consensual, casual, gay sex, with no context supplied. The jury's

drawing unwarranted and unfair conclusions about Defendant with respect to

character and propensity is a real possibility. Given the limited probative value of

the other acts evidence, particularly its lack of similarity to the current charge, it

must be excluded under F.R.E. 403.




                                  Conclusion



              The evidence of Defendant's prior consensual sexual encounter with a

 16-year-old male two years ago is unlike the situation underlying the present

charge and its relevance is doubtfiil. Lack of similarity and length oftime between

the prior and current actions yield inadmissible F.R.E. 404(b) evidence. The

evidence would prove little if anything about an alleged intent to have sex with a

minor in the current case and poses substantial danger of unfair prejudice under

F.R.E. 403.


       Accordingly, IT IS ORDERED that Defendant's Motion to Exclude the

F.R.E. 404(b)Evidence(Doc. 30, 39)offered by the Government is granted.
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       Dated this        day of November,2022.



                                        BY THE COURT:




                                        Lawrence L. Piersol
                                        United States District Judge

       ATTEST:
       MATTHEW W.THELEN,CLERK




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